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 5   Attorney for Defendant,
     DONTIA ARRINGTON
 6
                                     UNITED STATES DISTRICT COURT
 7
                                    EASTERN DISTRICT OF CALIFORNIA
 8

 9

10   UNITED STATES OF AMERICA,           )                CASE NO. 1:18-cr-00219-DAD-BAM
                                         )
11                     Plaintiff,        )
                                         )                STIPULATION TO CONTINUE
12   vs.                                 )                SENTENCING FROM JUNE 8, 2020
                                         )                UNTIL SEPTEMBER 14, 2020; AND
13                                       )                ORDER THEREON
                                         )
14   DONTIA ARRINGTON,                   )
                                         )                Date: September 14, 2020
15                                       )                Time: 10:00 AM
                                         )                Judge: Hon. Dale A. Drozd
16                     Defendant.        )
     ____________________________________)
17

18           IT IS HEREBY STIPULATED by and between the Defendant, DONTIA

19   ARRINGTON, his attorney of record, CAROL ANN MOSES, and Assistant United States

20   Attorney, JEFFREY SPIVAK, that the sentencing in the above-captioned matter currently

21   scheduled for June 8, 2020 at 10:00 AM be continued until September 14, 2020 at 10:00 AM.

22           Defense Counsel has a very busy litigation schedule in the coming months that is difficult

23   to stabilize due to various courts’ changing policies and procedures in response to the COVID-19

24   pandemic. Continuing Mr. Arrington’s Sentencing Hearing to September 14, 2020 would allow

25   for Defense Counsel’s litigation schedule to become more predictable as COVID-19 will

26   hopefully subside later in the year.

27           Additionally, Mr. Arrington would prefer to remain at the Lerdo Pretrial Facility until the

28   dangers of COVID-19 lessen. Dontia Arrington has Type 2 diabetes. His blood sugar is tested


     STIPULATION TO CONTINUE SENTENCING;
     AND [PROPOSED] ORDER THEREON                                                                      1
     Case 1:18-cr-00219-DAD-BAM Document 169 Filed 05/01/20 Page 2 of 2


 1   five times daily and he is receiving insulin injections four times daily. According to the Centers

 2   for Disease Control and Prevention, people with diabetes and suppressed immune systems may be

 3   at higher risk of getting very sick from COVID-19. Due to his age and health conditions, Mr.

 4   Arrington respectfully requests to postpone his Sentencing Hearing until later in the year to

 5   eliminate the risk of having to travel to a new facility in the interest of his safety.

 6           Assistant United States Attorney Jeffrey Spivak is in agreement with this proposed

 7   continuance.

 8           Mr. Arrington respectfully requests that the Court grant the continuance of his Sentencing

 9   Hearing from June 8, 2020 at 10:00 AM until September 14, 2020 at 10:00 AM.

10

11
     Dated: May 1, 2020                                      /s/ Carol Ann Moses
12                                                           CAROL ANN MOSES
                                                             Attorney for Defendant,
13                                                           DONTIA ARRINGTON
14

15
     Dated: May 1, 2020                                      /s/ Jeffrey Spivak
16                                                           JEFFREY SPIVAK
                                                             Assistant United States Attorney
17

18
                                                     ORDER
19
             GOOD CAUSE APPEARING, the above request to continue sentencing as to Defendant
20
     Dontia Arrington from June 8, 2020 at 10:00 AM to September 14, 2020 at 10:00 AM is hereby
21
     granted.
22
     IT IS SO ORDERED.
23

24       Dated:     May 1, 2020
                                                          UNITED STATES DISTRICT JUDGE
25

26
27

28


     STIPULATION TO CONTINUE SENTENCING;
     AND [PROPOSED] ORDER THEREON                                                                         2
